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                       IN THE UNITED STATES DISTRICT COURT   NOV 0 7 2014
                           EASTERN DISTRICT OF ARKANSAS JAMES~·
                                                         By·
                                WESTERN DIVISION           .             DEP CLER


UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 No. 4:11CR00290-15 JLH

TRAVERSE TACKER                                                                     DEFENDANT

                                           ORDER

        Traverse Tacker has filed a motion for early termination of probation. The United States

must respond to the motion, after conferring with the probation office, on or before November 21,

2014.

        IT IS SO ORDERED this 7th day of November, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
